                              EXHIBIT A

                             Proposed Order




DOCS_DE:239528.1 92766/002
                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                  )    Chapter 11
                                                        )
TWC Liquidation Trust, LLC,1                            )    Case No. 18-10601 (MFW)
                                                        )
                 Debtor.                                )    Ref. Docket No. ___

               ORDER SUSTAINING LIQUIDATION TRUSTEE’S OBJECTION
              TO THE CLAIM OF WANDA PICTURES (HONG KONG) CO., LTD.

         Upon consideration of the Liquidation Trustee’s Objection To the Claim of Wanda Pictures

 (Hong Kong) Co., Ltd. (the “Objection”);2 and the Court having considered the Declaration in

 support of thereof; and the Court having found that it has jurisdiction over this matter under 28

 U.S.C. §§ 157 and 1334 and the Plan; and the Court having found that this a core proceeding under

 28 U.S.C. § 157(b); and the Court having found that venue is proper under 28 U.S.C. §§ 1408 and

 1409; and the Court having found that the Liquidation Trustee provided appropriate notice of the

 Objection and the opportunity for a hearing under the circumstances and that no further notice

 need be given; and the Court having reviewed the Objection, the Claim and any response filed to

 the Objection; and upon the record herein, and after due deliberation thereon, and good and

 sufficient cause appearing therefor,

         IT IS HEREBY ORDERED THAT:

         1.       Any response to the Objection not otherwise withdrawn, resolved, or adjourned is

 hereby overruled.

         2.       The official claims register in these chapter 11 cases shall be modified in

 accordance with this Order.


 1
     The mailing address for TWC Liquidation Trust, LLC is c/o Dean Ziehl, Pachulski Stang Ziehl & Jones LLP,
     10100 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067.
 2
     A capitalized term used but not defined herein shall have the meaning ascribed to it in the Objection.


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        3.       The Claim is hereby disallowed in its entirety.

        4.       The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

        5.       The Liquidation Trustee is authorized to take all actions necessary to effectuate the

relief granted pursuant to this Order and to seek additional relief as is necessary in the future.

        6.       The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation or interpretation of this Order.




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